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                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF NORTH DAKOTA

Granite Re, Inc., an Oklahoma        )
corporation,                         )
                                     )
              Plaintiff,             )    ORDER OF DISMISSAL
                                     )
       vs.                           )    Case No. 1:17-cv-213
                                     )
National Credit Union Administration )
Board, as Conservator of Citizens    )
Community Credit Union,              )
                                     )
              Defendant.             )
______________________________________________________________________________

       Before the Court is a stipulation of dismissal of the Plaintiff’s claims against Defendant

National Credit Union Administration Board, filed on June 5, 2020. See Doc. No. 20. The Court

ADOPTS the stipulation in its entirety (Doc. No. 20) and ORDERS the action be dismissed

pursuant to Rule 41(a)(1)(A)(ii) of the Federal Rules of Civil Procedure with prejudice and without

attorney’s fees, costs, or disbursements to any party.

       IT IS SO ORDERED.

       Dated this 8th day of June, 2020.

                                                         /s/ Daniel L. Hovland
                                                         Daniel L. Hovland, District Judge
                                                         United States District Court
